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                                  UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

   CHAMBERS OF                                                       CLARKSON S. FISHER BLDG. AND U.S. COURTHOUSE
GARRETT E. BROWN, JR.                                                     402 EAST STATE STREET ROOM 2020
   CHIEF JUDGE                                                                TRENTON, NEW JERSEY 08608




                                                             April 6, 2011

                                              LETTER ORDER

       RE:     United States v. Quality Formulation Laboratories, Inc., et al., Criminal No. 10-699

                Before the Court are Defendants’ supplemental brief of April 1, 2011 (Doc. No. 51), and
       the Government’s motion to strike Defendants’ supplemental brief (Doc. No. 52). These filings
       relate to the hearing that took place on March 23, 2011, wherein this Court permitted Defendants
       to present evidence concerning whether the Government, through a law enforcement agent,
       improperly discouraged potential defense witnesses from speaking with defense counsel.

               During the hearing, the Court heard the testimony of two defense witnesses, as well as the
       testimony of Special Agent Kurtis Roinestad, whom Defendants claim made the improper
       comments to potential defense witnesses. The Court finds Special Agent Roinestad’s testimony
       that he did not discourage potential defense witnesses from speaking to defense counsel to be
       credible, and consistent with one of the defense witness’s testimony that he told her it was her
       “choice if [she] wanted to speak to [defense or government investigators].” (Hr’g Tr. at 12–13.)
       Defendants’ proffer at the hearing failed to demonstrate that Special Agent Roinestad’s conduct
       improperly silenced potential defense witnesses or influenced their testimony, and this Court
       finds that Defendants have not shown a due process violation.

              In their supplemental brief, Defendants concede that they “cannot demonstrate a present
       claim of prejudice.” (Defs.’ Suppl. Br. at 9.) Nevertheless, Defendants argue that this Court
       should compel disclosure of Special Agent Roinestad’s witness interview list. Based on the
       testimony and affidavits submitted to the Court, the Court sees no need to compel additional
       discovery at this point. Should Defendants discover evidence which they assert supports the
       conclusion that Government agents discouraged witness cooperation, the Court will hear such
       evidence at the appropriate time. Accordingly, the Court hereby DENIES the relief sought by
       Defendants’ supplemental brief (Doc. No. 51), and the Court DENIES as moot the Government’s
       motion to strike (Doc. No. 52).


                                                                  /s/ Garrett E. Brown, Jr.
                                                             Garrett E. Brown, Jr., Chief Judge
                                                             United States District Court



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